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Case 5:12-cv-04759-PSG Document 48

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Filed 02/01/13 Page 1of 31

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

DAVID TRINDADE, individually and on
behalf of all others similarly situated,

Plaintiff,
v.

REACH MEDIA GROUP, LLC, a
Delaware limited liability company,

Defendant.

REACH MEDIA GROUP, LLC, a
Delaware limited liability company,

Third-Party Plaintiff,
v.
RYAN LENAHAN, individually, KYLE
DANNA, individually, and EAGLE WEB
ASSETS INC., a corporation,

Third-Party Defendants.

CASE NO 5:12-CV-04759 (PSG)
(Complaint Filed: September 12, 2012)
CLASS ACTION

THIRD-PARTY PLAINTIFF REACH
MEDIA GROUP, LLC’S OPPOSITION TO
THIRD-PARTY DEFENDANT RYAN
LENAHAN’S MOTION TO STRIKE
CLAIMS UNDER CAL. CIV. PROC. CODE
§425.16 (ANTI-SLAPP MOTION)

DATE: MARCH 12, 2013

TIME: 10:00 a.m.

DEPT: COURTROOM 5, 4TH FLOOR
JUDGE: HON. PAUL SINGH GREWAL

OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-ev-04759 (PSG)

28

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Case 5:12-cv-04759-PSG Document48 Filed 02/01/13. Page 2 of 31

TABLE OF CONTENTS
Page
INTRODUCTION .u..cecccccescsscsscsseseessesessessessecsuesessacssesseevessesessssessesescsusnseseussessnesessnsensssesasensennessererey 1
FACTUAL BACKGROUND ......c.cccscsscsscetesseesersseneesecesssseesessessesssesesssscanenessasresassaessnennenensaeenegeegs 2
A. RMG is a Small, Privately Held Publishing Network Company That
Provides Multi-Media Advertisers With a Platform For Their Marketing
NEES....c.cccccessessesscssecrsessceeesscsseccseceecesaecessensevsnserscssscneenssessussesenseesenenssneessneseeaenenens 2
B. Third Party Defendants Lenahan and Danna Enter Into Agreements To Act
As Publishers Within RMG’s Network..........cccccsessscecesessseessneosseesersssneeesansessersenees 3
C. Lenahan and Danna Send Non-Compliant Text Message Advertisements
Purportedly on RMG’s Behalf... .csssssseseesseseseeesssessseseressenerseesenssessesssessesesnsneres 6
D. Lenahan and Danna Are Suspended As RMG Publisher ..........cccscsseseseereseseeneees 8
E. Lenahan Posts Defamatory Statements About RMG and Dowd.........ssssseseeeees 10
ARGUMENT. ....ccccsesscssssssssessessensessssesseesevsuceesssecsersseneesessseesessecseesesssesesenesseeseeseessesgessrsersnsnennenaeegs 12
I THE LEGAL STANDARDS GOVERNING RELIEF UNDER THE ANTI-
SLAPP STATUTE COMPEL DENIAL OF THIS MOTION. Qu... cccssssesestesssserresseseres 12
I. LENAHAN HAS NOT SATISFIED THE FIRST PRONG OF THE ANTI-SLAPP
STATUTE AND HAS FAILED TO MEET HIS BURDEN OF PROOF TO
INVOKE THE PROTECTION OF THE ANTI-SLAPP STATUTE ........cccesesseseeseseenens 13
A. RMG’s Causes of Action are Exempt from the Anti-SLAPP Statute
Pursuant to Section 425.17(C) .....ccscssscessesseesssseesssesnescsssensnsesereseuessareesssenseesensenens 13
B. Lenahan’s Statements Were Made In Connection With a Private Payment
Dispute ....c.cscscessssssessserseeseessssessesesecessevsessesesseessesevseasseseesssssesessesaecasneeaenasenenerseeeey 15
Ill. ©THE SECOND PRONG OF THE ANTI-SLAPP STATUTE COMPELS DENIAL
OF THIS MOTION AS RMG’S COMPLAINT IS BOTH LEGALLY
SUFFICIENT AND SUPPORTED BY A PRIMA FACIE SHOWING OF FACTS
SUFFICIENT TO SUPPORT A FAVORABLE JUDGMENT .......ecsesresesrereeerennens 18
A. RMG Has Demonstrated A Probability of Prevailing On Its Third Cause of
Action for Libel Per Se Against Third-Party Defendant Lenahan..............sse0 19
B. RMG Has Demonstrated A Probability of Prevailing On Its Fourth Cause
of Action for Tortious Interference with Contractual Relations Against
Third-Party Defendant Lenahan and Its Fifth Cause of Action for Tortious
Interference with Prospective Economic Advantage Against Third-Party
Defendant Lenahan ...........cccccesscesssceseeeesseesesesseserescnseavssesesesesseessaevsnessensessesenseenses 23
TIT, =§ CONCLUSION ou... ceccececssesseecesceseescseeeesaeeecsersessevsecacecsuseesseseseesseesesesssssassensssusneseessenesaenes 25

-i- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA Piper LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document48 Filed 02/01/13. Page 3 of 31

TABLE OF AUTHORITIES
Page |

CASES
Commonwealth Energy Corp. v. Investor Data Exchange, Inc.

(2003) 110 Cal. App. 4th 26 oe seccssscsssssesesssesssessessseeeseesseenetsseseeseesenensssereserenesaseays 15, 16
Consumer Justice Center v. Trimedica International, Inc.

(2003) 107 Cal. App. 4th 595 vc sscesssssssesesssesssecsssssesesnesesenesssenseenesssenssesenenesenenesssesenseseneavens 15
Damon vy. Ocean Hills Journalism Club,

(2000) 85 Cal. App. 4th 468... cscsecscscsesesseresseresesssssenssessessearersressesensasanaresessuseneecsenenenenanss 18
Du Charme v. Int’l Bro. of Elec. Workers, Local 45,

(2003) 110 Cal. App. 4th 107 w.cccesscssessseseressseesstenessnsnenerersteresssenenenssassnssssssesensersnseeseneanes 18
Fox Searchlight Pictures, Inc. v. Paladino

(2001) 89 Cal. App.4th 294 ...sccccesseecssecssssssessesssesssssssssersessssenssesnsssseensssnsesteratenniesreestsateseee 12
Grewal v. Jammu

(2011) 191 Cal. App. 997... csscsssesessssscsessssecsesesssssessessrsssssearersreseversnensuenscesiceesensneneseseneneneneney 18
Hailstone v. Martinez,

(2009) 169 Cal. App. 4th 728 vc cssesssssssssesssesssesssenesssensnsassssssensacssscnsesasasnensnsnensneneasens 16, 17
Hawran v, Hixson

(2012) 209 Cal. App. 4th 256 oc cssssssssssseeessesstesssssssrenstsnsasseerensessersacssssenessserssnesnenenenssenney 14
Korea Supply Co. v. Lockheed Martin Corp.,

(2003) 29 Cal 4th 1134 oe esssssssesesssesesesescsneneresssssserensesssssseverssessseasesssevevenenssseereneesneeseney 23
Mann vy. Quality Old Time Service, Inc.

(2004) 120 Cal. App. 4th 90 ...csscssssseesessessssnesssssseesnetensrsnsererenenesssserenessnsassensensasnenesenseneney 16
Maponics, LLC v. Wahl,

2008 WL 2788282 (N.D. Cal. July 18, 2008)... .csccecsesesrssenesreretecseneesersrssseseesenseesneseees 20, 21
McGarry v. University of San Diego

(2007) 154 Cal. App.4th 97 o..cccssssssesesssesseesesesssneretenssaserenensesnssserssssnsaseseceneasaenerseney 18, 19
Milkovich v. Lorain Journal Co.

(1990) 497 U.S. Liceeeeseessssssseesessssescseseesesenesessesenenensssssenenensecesssasenerssesensecsnevavsasseseessnenenensnsensngs 19
Nagel v. Twin Laboratories, Inc.

(2003) 109 Cal. App. 4th 39 on ccsssscsssesessesererssssesersssnsssacssasisessesssssessssisssnsasisisasisneaseenenenes 15

Navellier v. Sletten
(2002) 29 Cal. 4th 82 on. sssssssesssssssessessnecessessserssssssssenssenensssssnsnssssesssenssseresesecssasasisseeaeees 12, 18

-ii- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA Piper LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document48 Filed 02/01/13. Page 4of 31

TABLE OF AUTHORITIES
(continued)
Page

Pacific Gas & Electric Co. v. Bear Stearns & Co.,

(1990) 50 Cal.3d 1118 we eeecessesessesesseeecsscssssesecssssessessseseeesessensessenessessssasnesseeseessneaneneens 23
Peregrine Funding, Inc. v. Sheppard Mullin Richter & Hampton LLP,

(2005) 133 Cal. App. 4th 658 uo... cecessssesssesssessesseeseceseneeensensneseensnsasenessseevessarsvseseenseseeesenty 18
Rivero v. American Federation of State, County and Municipal Employees, AFL-CIO

(2003) 105 Cal. App. 4th 913 vc ceeeseseenersesctetsesscnscsseessessevesssensesesessessesseserseeseseeeasones 15, 16
Silverstein v. E360Insight, LLC,

2008 WL 1995217 (C.D. Cal. May 5, 2008) oo... cesesesesssssressessesseesessesnsvsereesesesevaseneees 20, 21
Slaughter v. Friedman

(1982) 32 Cal.3d 149 ve ssescssseessessesssscssseresssscssesetssscsesessesesesessensesesecsessersnssrsassreesnenes 19
Soukup v. Law Offices of Herbert Hafif,

(2006) 39 Cal 4th 260 oo... cccccccseecseccesscessesevsessenesssssssessecssnsenssseseseresssseseesnesesasssesesesssesssenenenaees 19
Taheri Law Group v. Evans

(2008) 160 Cal. App. 4th 482 oo... csssesessesseetecsecssssesessssseesessssasscsecscnsssssesrsaesesseenesaesnentes 13
Thomas v. Quintero,

(2005) 126 Cal. App. 4th 635 occ cceesssenssesscenscesssessessssesscssessessessssesssessssessenseesaeersnsnesaees 17, 18
Weinberg v. Feisel

(2003) 110 Cal. App. 4th 1122.0... eesevscuaeessenseccesascaessesseuseeaecssseaenesacnaeeaeeseseasscenaesesearensenes 15
Wilbanks v. Wolk,

(2004) 121 Cal. App. 4th 883 oo... eeessseesessssssseesesssscssssesssssssesssssesersessesrentesessestenessesseneenees 17
Wong v. Jing

(2010) 189 Cal. App. 4th 1354 oc eesesesseesssesessssevsesssssessssesssssssasseserssssseenssneseesressenteess 19, 20
World Financial Group, Inc. v. HBW Insurance & Financial Services, Inc.

(2009) 172 Cal. App. 4th 1561 os ccesessessessressesesssersssesevsesscnsssssassseecssssesecneseasesseenessseessees 16
STATUTES
Cal. Civ. Code § 45a vo. cccccscsscsscsccscsessescsecsseseeesenesenensecessesessssssasaeseussessesseessnesssessesatenessnenens 18
Cal. Civ. Proc. Code

§ 425.16. ecsccssssescescteeseeseseesceseeeseesessesnenessessssesaessusseseserssesesseesesesnensssssasnenseeasenss 1, 2, 11, 13, 18

-lii-- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO, 5:12-CV-04759 (PSG)

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DLA Piper LLP (US)

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Case 5:12-cv-04759-PSG Document48 _ Filed 02/01/13. Page 5of 31
TABLE OF AUTHORITIES
(continued)
Page
Cal Civ. Proc. Code
§ 425. L6(D)(1) we eeesescsesteesseeteersseseeeneenes veseesaceaessecesecssensecseeeseesaeessessssesesenaeesesoneseeesssenssoneseass 11
§ 425. 16(€) ....cescssscssccnsessssrecsessnsessvsnceseessecnsesseessecseesseseaseseseseteesesesenssraseseesensereseateasenessy 1,11, 24
§ 425.16(e)(3) cc ccscscecscessessceseescesecsecseesesesesseseessessesssessesesssssessarsessscseusasseessnseeenessaesnesseseees 12, 14
§ ADS 17 eecssesscssecenssecsseestescesessressceseesceasrsevacesessesseesevsesasssstensssseestssssnssesseseasenevarents 1, 12, 13, 24
§ 425.17(C) vecssccsssssscssesseesscesseesecsnscsecensensessnesseesssssseeanesesesaesesesssesecseseatseseseascnseessssnsesseeseenseeserns 12

-iv-- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)

CASE NO. 5:12-CV-04759 (PSG)

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Case 5:12-cv-04759-PSG Document48 Filed 02/01/13. Page 6of 31

INTRODUCTION

Defendant Ryan Lenahan (“Lenahan”) is trying to hide behind California’s Anti-SLAPP
law to escape responsibility for deliberately posting fabricated statements about Reach Media
Group (““RMG”) on a Facebook forum and then linking those comments to RMG President and
CEO Roger Dowd’s personal Facebook page. Contrary to Lenahan’s assertions, this lawsuit is not
a reflection of a corporation trampling on helpless champions of free speech on a matter of public
concern. This is a case of a disgruntled independent contractor who, after admitting that he
breached the contractual terms of his business engagement with RMG, publicly posted knowingly
false statements relating to a private issue, namely a payment dispute between himself and RMG.
California’s Anti-SLAPP statute was not designed to give individuals, on the web or otherwise,
carte blanche to destroy a small business’s reputation and interfere with its business and
contractual relationships by posting defamatory statements.

Lenahan’s Motion to Strike Claims under Cal. Civ. Proc. Code $425.16 (“Anti-SLAPP
Motion”) perpetuates the very defamation that RMG’s Third-Party Complaint seeks to end.
Without any factual support, Lenahan continues to assert that “RMG concocted a story that
Lenahan’s ads did not comply with RMG’s non-existent guidelines, even though RMG’s CEO
had personally approved Lenahan’s ads”. (Anti-SLAPP Motion, p. 2, Ins. 8-10).

Lenahan’s Anti-SLAPP Motion must be denied for the following reasons: (1) Lenahan has
failed to make a threshold showing that the challenged causes of action arise from the exercise of
protected free speech as defined in California Code of Civil Procedure (“CCP”) sections
425.16(e) and 425.17, (2) the evidence before the Court independently demonstrates that RMG
has a probability of prevailing on the merits of its claims for libel per se (Count III), tortious
interference with contractual relations (Count IV), and tortious interference with prospective
economic advantage (Count V), and (3) regarding Counts IV and V, these claims do not fall
within the scope of the Anti-SLAPP statute where the theory upon which these claims are based
are not Lenahan’s defamatory statements but rather his intentional conduct of sending
noncompliant text messages, in breach of his Agreement with RMG.

-1- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER

CAL. CIV. PROC, CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO, 5:12-CV-04759 (PSG)

DLA Piper LLP (US)

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28

Case 5:12-cv-04759-PSG Document48 Filed 02/01/13 Page 7 of 31

FACTUAL BACKGROUND

A. RMG is a Small, Privately Held Publishing Network Company That Provides
Multi-Media Advertisers With a Platform for Their Marketing Needs

RMG is a small privately held company founded in November 2010 by its President and
Chief Executive Officer Roger Dowd (“Dowd”). (Declaration of Roger Dowd In Support Of
Opposition to Third-Party Defendant Ryan Lenahan’s Motion to Strike Claims Under Cal. Civ.
Proc. Code § 425.16 (Anti-SLAPP Motion) (“Dowd Decl.”), { 1-2.) RMG’s website is available

at www.reachmediagroup.com. (Dowd Decl., § 4.) RMG employs eleven full-time individuals,

four in New York City, six in Atlanta, Georgia, and one in Sarasota, Florida. (Dowd Decl., { 4.)
RMG’s business model is to provide a leading performance based publisher network that provides
access to exclusive pay-for-performance, or cost-per-action (“CPA”), campaigns for publishers
seeking generous, competitive payouts. (Dowd Decl., { 2.) RMG assists publishers in tracking
their performance by providing them access to state-of-the-art online reporting. (Dowd Decl., {
2.) Simultaneously, RMG provides advertisers with a platform for their marketing needs. (Dowd
Decl., § 2.) Specifically, RMG works with its publishers to generate actions, such as customer
leads and sales, on a massive scale, to ensure significant returns for its advertisers. (Dowd Decl.,
q{ 2.) In selecting marketing campaigns for its publishers, or “affiliates”, RMG focuses on
campaigns for particular industries, including, but not limited to, the automotive, healthcare,
financial services, and legal industries. (Dowd Decl., § 2.) Through his thirteen years of
experience in the affiliate marketing industry, Dowd has led RMG in developing a large and loyal
network of contacts within the affiliate marketing community and has established a highly
respected reputation for RMG. (Dowd Decl., 7 3.) Through the established network of contacts of
RMG’s employees and RMG’s positive reputation in the affiliate network industry, RMG has
grown its business since its founding two years ago. (Dowd Decl., { 3.)

As a publisher network, RMG enters into agreements with publishers to publish, or
distribute, carefully worded and pre-approved text message advertisements to individuals who
have expressly agreed in advance to receive these text messages. (Dowd Decl., {| 5.) These

agreements govern the content of the advertisements, the terms of payment, the nature of the

-2- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA Piper LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document48 Filed 02/01/13. Page 8 of 31

relationship between RMG and the third party publishers, and contain representations and
warranties, among other things. (Dowd Decl., 4 5.) To join RMG’s publisher network, a publisher
must submit an application on RMG’s website, available at

http://www.reachmediagroup.com/signup. (Dowd Decl., § 5.) In order to submit the application,

an applicant must agree to the terms and conditions. (Dowd Decl., 45, Ex. A.) Once a publisher’s
application is approved by RMG, the publisher is free to select advertising campaigns to publish
for from those featured in RMG’s network. (Dowd Decl., { 6.) While the agreements govern the
relationship between RMG and a publisher, specific provisions may be altered through an
Insertion Order, which supplements the terms and conditions. (Dowd Decl., § 7.) Most frequently,
an Insertion Order is required to reflect a change in the price a publisher is to be paid for their
services completed from the original price RMG and the publisher agreed upon when the
publisher initially entered RMG’s network. (Dowd Decl., { 7.) Advertisers seeking services
through RMG, on the other hand, enter into marketing and distribution agreements with RMG.
(Dowd Decl., § 8.) These agreements govern the responsibilities of RMG, payment to RMG by

the advertiser, and representations and warranties, among other issues. (Dowd Decl., J 8, Ex. B.)

B. Third Party Defendants Lenahan and Danna Enter Into Agreements To Act
As Publishers Within RMG’s Network

On or about July 11, 2012, Lenahan submitted an online application and agreed to the
Terms and Conditions to publish RMG’s pre-approved advertising message, or RMG’s Creatives
(“Lanahan Agreement”). (Dowd Decl., | 9, Ex. C.) On or about August 9, 2012, Kyle Danna
(“Danna”) submitted an online application and agreed to the Terms and Conditions to publish
RMG’s Creatives (“Danna Agreement”), as well. (Dowd Decl., { 10, Ex. D.)

As part of the Agreements into which Lenahan and Danna entered with RMG
(collectively, “Agreements”), Lenahan and Danna were prohibited from editing any of RMG’s
Creatives, “without prior written approval from Reach Media Group.” (Dowd Decl., J 11, Ex. E.)
The Agreements specified that the Creatives include, but are not limited to, “text ads, graphic ads,
from and subject line, any copy associated with the campaign including survey questions and

-3- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER

CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

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28

Case 5:12-cv-04759-PSG Document48 Filed 02/01/13. Page 9 of 31

answers.” (Dowd Decl., § 11, Ex. E.) Furthermore, the Agreements stated that “[a]ny changes to
[a] Creative, without prior written permission will result in the loss of payment of Leads.” (Dowd
Decl., 4 11, Ex. E.) The Agreements further specified that Lenahan and Danna represented and
warranted that all their efforts “associated with this Agreement [would] comply with the laws of
the United States, and any other laws of any other jurisdictions” applicable to them. (Dowd Decl.,
4 11, Ex. E.) Additionally, the Agreements stated that Lenahan and Danna “will not engage in or
promote any illegal activities of any kind in association with this Agreement.” (Dowd Decl., J 11,
Ex. E.)

Upon signing up with RMG’s network, Lenahan and Danna were approved as publishers

immediately, on or about July 11, 2012 and August 9, 2012, respectively. (Dowd Decl., 4 12, Exs.

Cand D.) Once their accounts were approved, Lenahan and Danna were permitted to select

campaigns on RMG’s network for which they wanted to publish. Once they selected campaigns,
they automatically received emails with the content of the approved Creatives for those
campaigns. (Dowd Decl., 7 12.) Both Lenahan and Danna also signed Insertion Orders which
confirmed the different advertising campaigns for which they were required to publish. (Dowd
Decl., { 13.) On or about August 9, 2012, Lenahan signed an Insertion Order (“Lenahan Insertion
Order’’) identifying the following campaigns for which he was required to publish text message
advertisements: (1) Auto Loan Professionals, (2) Cash Advance Diamond, (3) Central Payday
Advance, (4) Honest Cash Loan, (5) Huge Cash Advance, (6) Instant Cash Express, (7) Mobile
Cash Source, and (8) Second Chance Cash Advance. (Dowd Decl., | 13, Ex. G.) On or about
September 4, 2012, Danna signed an Insertion Order (“Danna Insertion Order”) identifying one
campaign for which he was authorized to publish text message advertisements — the Homeland
Cash Advance campaign. (Dowd Decl., § 13, Ex. H.)

The Creatives for each of the campaigns for which Lenahan contracted to publish were
sent in automated emails to Lenahan once he selected those campaigns. Examples of the

Creatives for one of the eight campaigns were the following. (Dowd Decl., § 14, Ex. I.)

-4- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO, 5:12-CV-04759 (PSG)

28

DLA Pirer LLP (US)

SAN FRANCISCO

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 10 of 31

Campaign 2: Cash Advance Diamond (Mobile):

US lenders are offering cash loans up to $1,000 deposited within 24hrs. Bad Credit OK!
Apply directly from your phone at Cash Advance Diamond. Reply STOP to opt-out

Get a cash loan up to $1,000 today with a simple application you can complete on your
phone. Apply right now at Cash Advance Diamond. Reply STOP to opt-out

USA lenders have cash loans up to $1000 deposited w/i 24hrs. No /Bad credit OK! Easy
& safe. Apply on your phone at Cash Advance Diamond. Reply STOP to opt-out

Need a loan today? Get approved for a cash loan. Complete a simple application now on
your mobile phone. Apply at Cash Advance Diamond. Reply STOP to opt-out

US lender offering $1000 cash loan deposited within 24hrs. Easy to qualify. Bad credit
OK! Apply on your phone now at Cash Advance Diamond. Reply STOP to opt-out

Need $1000 fast? Major US lenders offering cash loans w/i 24hrs. Apply on your phone
now at Cash Advance Diamond. Bad credit OK! Reply STOP to opt-out

The Creatives for the one campaign for which Danna contracted to publish, and which
were sent in an automated email to Danna once he selected that campaign, were the following.
(Dowd Decl., { 15, Ex. J.)

Homeland Cash Advance (SMS Only Short Form) Campaign

US lenders are offering cash loans up to $1,000 deposited within 24hrs. Bad Credit OK!
Apply directly from your phone at Homeland Cash Advance. Reply STOP to opt-out

Get a cash loan up to $1,000 today with a simple application you can complete on your
phone. Apply right now at Homeland Cash Advance. Reply STOP to opt-out

USA lenders have cash loans up to $1000 deposited w/i 24hrs. No/Bad credit OK! Easy &
safe. Apply on your phone at Homeland Cash Advance. Reply STOP to opt-out

Need a loan today? Get approved for a cash loan. Complete a simple application now on
your mobile phone. Apply at Homeland Cash Advance. Reply STOP to opt-out

US lender offering $1000 cash loan deposited within 24hrs. Easy to qualify. Bad credit
OK! Apply on your phone now at Homeland Cash Advance. Reply STOP to opt-out

Need $1000 fast? Major US lenders offering cash loans w/i 24hrs. Apply on your phone
now at Homeland Cash Advance. Bad credit OK! Reply STOP to opt-out

-5- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC, CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO, 5:12-CV-04759 (PSG)

DLA PIPER LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 11 of 31

Lenahan and Danna received special instructions regarding the text message
advertisements they were required to send. (Dowd Decl., { 16, Ex. K.) Those instructions
specified, among other things, that bank names, amounts over $1000, and “cash in 2 hours” were
not permitted in the text messages. (Dowd Decl., § 16, Ex. K.) Furthermore, those instructions
specified that the text message advertisements must have included opt-out language. (Dowd
Decl., § 16, Ex. K.) Additionally, one of RMG’s former employees, Andre Zouvi, emailed Danna
on or about September 5, 2012 reiterating the specific instructions regarding the Creatives Danna
was required to send. That email specified that Danna was not permitted to use bank names,
amounts over $1000, the phrase “no credit checks”, or the phrase “cash in 2 hours.” (Dowd Decl.,

q 17, Ex. L.)

Cc. Lenahan and Danna Send Non-Compliant Text Message Advertisements
Purportedly on RMG’s Behalf

Some time after July 21, 2012, RMG began receiving complaints from recipients of
unsolicited text messages purportedly sent on RMG’s behalf. (Dowd Decl., { 18.) At least two

complaints involved the following text messages:

Chase is offering $1500 cash loans deposited within 2hrs. NO credit checks or
faxing! Get the money today by applying right now on your phone at
CashIn2Hrs.com

Chase is offering $1,500 cash loans deposited within 2hrs. NO credit checks!
Get the money today by applying right now directly on your phone at
CashIn2Hrs.com

(Dowd Decl., § 18, Exs. M and N.) RMG subsequently received other complaints from recipients
of text messages purportedly sent on RMG’s behalf. (Dowd Decl., J 19.) The recipients stated
that they never provided prior express consent to receive these text messages. (Dowd Decl., { 19.)
After receiving these complaints, Dowd personally spoke with Lenahan, notifying

Lenahan of the complaints. (Dowd Decl., | 20.) Lenahan conceded to Dowd that he had sent text
messages with links to non-RMG websites that re-directed to RMG-affiliated websites and that
the content of his text messages did not match the content of the approved Creatives for his

-6- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER

CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

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28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 12 of 31

campaigns. (Dowd Decl., 20.) Dowd told Lenahan that because he had sent unauthorized text
messages that did not comply with the terms of the Agreement, he was not entitled to payment
under the Lenahan Agreement and further demanded that Lenahan cease sending unauthorized
text messages with links to non-RMG websites that then re-directed to RMG-affiliated websites.
(Dowd Decl., J 20.)

After this conversation with Lenahan, Dowd received more complaints regarding
unsolicited text messages from their recipients and personally spoke with Lenahan again,
demanding that Lenahan cease sending text messages that were not compliant with the terms of
the Lenahan Agreement and in violation of the law. Dowd further demanded that Lenahan
provide to him the OPTIN information Lenahan used to determine the recipients of his text
messages, that he ensure all of his marketing efforts were compliant with the CAN-SPAM Act of
2003, and that he ensure that he was following best practices with regard to publication of
advertisements. (Dowd Decl., 21.) Despite his demands, Dowd never received from Lenahan
the OPTIN information or certification from him that his marketing efforts were compliant with
the CAN-SPAM Act of 2003 and in accord with best practices for publication of advertisements.
(Dowd Decl., { 22.)

On or about August 25, 2012, Dowd received an email from one of RMG’s former

employees, Luciano Castro, stating a proposed text message advertisement:

US lenders are offering cash loans up to $1,000 deposited within 24hrs. BAD CREDIT
OK! Secure the money today by applying now on your phone at www.bit.ly/B2eW4

(Dowd Decl., J 23, Ex. O.) The embedded link was supposed to direct the recipient directly to an
RMG website, not to a non-RMG website that would then redirect the recipient to the authorized
website. (Dowd Decl., § 23.) The email chain’s originating email from August 24, 2012 was sent
by RMG’s Chief Operating Officer, Rick Hoeye, to Lenahan. (Dowd Decl., J 23, Ex. O.) Dowd
subsequently approved the use of the proposed text message advertisement presented by Mr.

Castro in the August 25, 2012 email. (Dowd Decl., { 24, Ex. O.)

-7- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV, PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA Piper LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 13 of 31

D. Lenahan and Danna Are Suspended As RMG Publishers

Some time on or about August 25, 2012 or August 26, 2012, Dowd received another
complaint regarding an unsolicited text message advertisement, and on or about August 26, 2012,
Dowd personally authorized the official suspension of Lenahan as an RMG publisher because
Lenahan had admitted he altered the content of the approved Creatives for the campaigns he
contracted to publish for without prior written approval from RMG. (Dowd Decl., | 26.) Dowd
also personally informed RMG’s Accounting department to withhold payment to Lenahan
because he failed to comply with the terms of the Lenahan Agreement. (Dowd Decl., { 26.)

Subsequently, on or about September 6, 2012, Dowd personally spoke with Lenahan
again, reminding him that he was suspended as an RMG publisher as a result of his
noncompliance with the Lenahan Agreement. (Dowd Decl., | 27.)

A day later, on or about September 7, 2012, Dowd received an email from Lenahan, in
which Lenahan wrote, among other things, that (1) he understood that Dowd was “very upset over
all the issues” his text messages had created for Dowd; (2) acknowledged that he and Danna had
sent text messages purportedly on RMG’s behalf that had the name “Chase” in it; (3)
acknowledged that Dowd provided Lenahan with two warnings, with the second and final
warning on or about August 25, 2012; (4) acknowledged that complaints Dowd received after
August 25, 2012 could have been the result of text messages he, Danna, or another affiliate sent;
and (5) stated that he was open to negotiating a deduction from his claimed invoice of $12,298
“to cover [Dowd’s] time dealing with this.” (Dowd Decl., | 28, Ex. P.)

On or about September 11, 2012, RMG officially suspended Danna as an RMG publisher.
(Dowd Decl., ¢ 29.)

On or about September 12, 2012, RMG received a Class Action Complaint filed in this
matter, alleging that RMG violated the TCPA by sending, or having sent on its behalf, unsolicited
text message advertisements to Plaintiff's and purported class members’ cell phones.
Specifically, Plaintiff alleged that the text message advertisements were sent without the prior
express consent of their recipients, in violation of the TCPA. The text messages identified in the

-8- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER

CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA PIPER LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 14 of 31

Class Action Complaint are the following:

Lenders offering $1,500 cash loans deposited within 2hrs. NO credit checks! Get money
today by applying right now directly on your phone at www.TwoHourCash.com

Chase is offering $1500 cash loans deposited within 2hrs. NO credit checks! Get the
money today by applying right now directly on your phone at CashIn2Hrs.com

Chase is offering $1500 cash loans deposited within 2hrs. NO credit checks! Get the
money today by applying right now on your phone at www. TwoHourCash.org

Chase is offering $1500 cash loans deposited within 2hrs. NO credit checks or faxing!
Get the money today by applying right now on your phone at TwoHourCash.net

Chase is offering $1,500 cash loans deposited within 2hrs. NO credit checks! Get the
money today by applying right now on your phone at www.TwoHourCash.org.

Wells Fargo: Get up to $1500 deposited into your account today. Not a scam &
bad credit ok. Apply from your phone at bit.ly/NmCRO0 now. Instant approval.

Plaintiff alleged that the websites CashIn2Hrs.com, TwoHourCash.net, www.TwoHourCash.org
and the link bit.ly/NmCRO0 all lead directly to RMG-owned and/or operated websites, including
CashAdvanceDiamond.com and MobileCashSource.com. (Dowd Decl., { 30.)

None of RMG’s pre-approved Creatives for its campaigns included the text message
advertisements identified in the Class Action Complaint against RMG. (Dowd Decl., 4 31, Exs. I
and J.) In fact, each of the messages alleged in the complaint contains bank names, loan amounts
or other text that RMG specifically directed not be included in messages sent for its campaigns.
Moreover, none of the alleged links direct the recipient to an authorized RMG website, and RMG
never authorized the use of intermediate websites or re-directions.

On or about September 19, 2012, Dowd received an email from Mr. Hoeye, forwarding
another email sent from Lenahan to Mr. Hoeye that same day. In Lenahan’s email, he stated that
Danna was “doing the exact same thing as me, word for word . . .” and provided instant messages
by Danna stating the fact that RMG paid Danna but not Lenahan would help Lenahan in court
against RMG. (Dowd Decl., § 32, Ex. Q.) These statements, in combination with Lenahan’s prior
concession that text messages he sent purportedly on RMG’s behalf were not in compliance with
any of RMG’s Creatives, indicated to RMG that Danna sent noncompliant text messages, as well.

(Dowd Decl., § 32,)

-9- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA PiPer LLP (US)

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Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 15 of 31

Dowd then informed RMG’s Accounting department to withhold payment to Danna on or
about September 19, 2012 because he had not complied with the terms of his Agreement with
RMG. (Dowd Decl., § 33.) Dowd learned that a bank wire had already been issued to Danna’s
bank account the day before, that the clearing house had received the wire, and that the receiving
bank had not yet received it. (Dowd Decl., § 33.) As such, Dowd instructed one of RMG’s
employees in the Accounting department to inform the receiving bank that the wire had been sent
without authorization, who then informed the receiving bank on or about September 19, 2012 that
the wire had been sent without authorization. RMG never received word from the bank that
Danna attempted to dispute the stop status placed on the wire. (Dowd Decl., { 33.)

Because Lenahan and Danna had not sent text message advertisements that were in
compliance with the approved Creatives for their advertising campaigns, RMG was required to
reimburse the advertisers associated with those campaigns the fees they had paid RMG. (Dowd
Decl., ¥ 34.)

E. Lenahan Posts Defamatory Statements About RMG and Dowd

On or about September 28, 2012, Dowd received an email from “Ryan Lenahan”
addressed to “Internet-Advertising — People Who Don’t Pay.” The email contained two
comments by the individual “Ryan Lenahan”, made two minutes apart from one another. The

first comment was:

Roger Dowd from Reach Media group owes me $13,000 and forcing me to hire
Harrison Gevirtz to take them to court. I’m also aware that they owe another
network $xx,xxx in addition to another affiliate they owe $xx,xxx. Roger claims
we were using “unapproved” sms content however I have countless emails, skype
transcripts....etc where he told me to use his exact word for word message on my
marketing materials or else risk non payment, which IJ did under threat and now
hes claiming tis unapproved BS story.

The second comment, written only two minutes later, stated:

Roger Dowd sent a 14k wire to my partner whom was using the very same sms
content, then 3 days later contacted the bank and pretended the wire they sent was
fraud in attempts to get it reversed. Luckily a signed IO, invoice, emails,
transcripts...etc got the bank to realize it was a BS story and stopped the
fraudulent reversal.

-10- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA PIPER LLP (US)

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28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 16 of 31

(Dowd Decl., 7 35, Ex. R.)

The reference to Dowd’s name in the first sentence “Roger Dowd from Reach Media
group owes me $13,000 and forcing me to hire Harrison Gevirtz to take them to court” was
linked to Dowd’s personal Facebook page. (Dowd Decl., § 36.)

Dowd authorized RMG’s counsel, DLA Piper LLP (US), to send a cease and desist letter
to Lenahan, demanding that he cease and desist from this conduct and from engaging in further
unlawful conduct directed at Dowd or RMG, and that he confirm his compliance with these
demands in writing to the offices of DLA Piper LLP (US). (Dowd Decl., ¢ 37.) RMG’s counsel
never received any confirmation in writing or otherwise from Lenahan. (TPC, § 33.)

Subsequently, on or about November 4, 2012, Dowd received another email from “Ryan
Lenahan” addressed to “Internet Advertising — People Who Don’t Pay,” which included a third
comment from an individual named “Ryan Lenahan” stating “Just an update, over 3 months have
passed and have still not seen a dime.” (Dowd Decl., 4 38.) The email also showed two
comments by individuals to Lenahan’s September 28, 2012 posts about Dowd and RMG. (Dowd
Decl., § 38.) They said “Good to know, thanks for the heads up” and “oh my. . . not going near
that network.” (Dowd Decl., ¥ 38.)

As aresult of Lenahan’s Facebook postings about Dowd and RMG, both Dowd’s and
RMG’s reputations in the affiliate networking industry have been severely damaged. (Dowd
Decl., § 39.) RMG received notification that one of its largest clients saw the second Facebook
comment posted by Lenahan and now requires prepayment or a personal guarantee from RMG as
a condition to participating with RMG on campaigns. (Dowd Decl., J 39.) Additionally, RMG
received notice that the Chief Financial Officer of another affiliate in RMG’s network saw the
Facebook posts and now seeks an explanation and that other affiliates in RMG’s network have

expressed concern about receiving payment from RMG. (Dowd Decl., { 39.)

-11- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV, PROC, CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA Piper LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 17 of 31

ARGUMENT

I. THE LEGAL STANDARDS GOVERNING RELIEF UNDER THE ANTI-SLAPP
STATUTE COMPEL DENIAL OF THIS MOTION

California courts apply a two-step process for determining whether an action should be
dismissed pursuant to CCP § 425.16. Initially, the court decides whether the (third-party)
defendant has made a threshold showing that the challenged cause of action is one arising from
acts in furtherance of the (third party) defendant's constitutional right of petition or free speech in
connection with a public issue. See, CCP §425.16(b)(1), (e). “In deciding whether the initial
‘arising from’ requirement is met, a court considers ‘the pleadings, and supporting and opposing
affidavits stating the facts [on] which the liability or defense is based.’” Navellier v. Sletten
(2002) 29 Cal.4th 82, 89. It is Lenahan’s burden in the pending anti-SLAPP motion to
demonstrate that RMG’s causes of action for libel per se, tortious interference with contractual
relations, and tortious interference with prospective economic advantage are within the class of
suits subject to a motion to strike under section 425.16. Fox Searchlight Pictures, Inc. v. Paladino
(2001) 89 Cal. App. 4th 294, 304 (a party seeking to benefit from a statute bears the burden of
making a prima facie showing the statute applies). As set forth below, Lenahan has not met this
burden.

If the court finds that such a showing has been made, it must then determine whether the
(third-party) plaintiff has demonstrated a probability of prevailing on the claim. See Navellier, 29
Cal.4th at 89 (“Only a cause of action that satisfies both prongs of the anti-SLAPP statute -- i.e.,
that arises from protected speech or petitioning and lacks even minimal merit -- is a SLAPP,
subject to being stricken under the statute.”) (emphasis in original). As California courts have
repeatedly held, the anti-SLAPP statute “does not bar a plaintiff from litigating an action that
arises out of the defendant’s free speech or petitioning, it subjects to potential dismissal only
those actions in which the plaintiff cannot ‘state[ ] and substantiate[ ] a legally sufficient claim.’”
Navellier, 29 Cal.4th at 93 (internal citation omitted) (emphasis added). Here, neither prong can
be met.

-]2- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER

CAL, CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

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Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 18 of 31

Il. LENAHAN HAS NOT SATISFIED THE FIRST PRONG OF THE ANTI-SLAPP
STATUTE AND HAS FAILED TO MEET HIS BURDEN OF PROOF TO INVOKE
THE PROTECTION OF THE ANTI-SLAPP STATUTE

Lenahan alleges that three of RMG’s five causes of action arise from protected speech
under section 425.16(e)(3). These causes of action are (a) Count IIJ—Libel Per Se; (b) Count
I1V—Tortious Interference with Contractual Relations, and (c) Count V—Tortious Interference
with Prospective Economic Advantage. Specifically, Lenahan contends that the statements made
were written statements made in a public forum on a Facebook Group webpage in connection
with an issue of public interest, namely warning other publishers about networks who fail to pay
their publishers.

A. RMG’s Causes of Action are Exempt from the Anti-SLAPP Statute Pursuant
to Section 425.17(c)

Recognizing a “disturbing abuse” of the California anti-SLAPP statute, the Legislature
adopted CCP section 425.17, in which two exemptions were created to the applicability of the
Anti-SLAPP statute. The first exemption applies to actions brought solely in the public interest or
on behalf of the general public where certain conditions are met. The second exemption applies to

commercial speech. Specifically, section 425.17(c) exempts:

any cause of action brought against a person primarily engaged in the business of
selling or leasing goods or services . . . arising from any statement or conduct by
that person if...

(1) The statement or conduct consists of representations of fact about that
person’s or a business competitor’s business operations, goods, or services, that is
made for the purpose of obtaining approval for, promoting, or securing sales or
leases of, or commercial transactions in, the person’s goods or services, or the
statement or conduct was made in the course of delivering the person’s goods or
services.

(2) The intended audience is an actual or potential buyer or customer, or a person
likely to repeat the statement to, or otherwise influence, an actual or potential
buyer or customer....

The Legislature’s intention was to exempt “purely commercial” disputes from the Anti-
SLAPP statute. Taheri Law Group v. Evans (2008) 160 Cal. App. 4th 482, 491. The exemption
-13- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER

CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA Piper LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 19 of 31

applies to individual proprietors who bring Anti-SLAPP motions. See id. at 491 (noting that like
proprietors of other commercial enterprises, lawyers sell their services to prospective buyers and
customers and engage in commercial speech when they advertise their services); see also
Hawran v. Hixson (2012) 209 Cal. App. 4th 256, 271 n.5 (holding that the Legislature’s
statement in enacting section 425.17 does not limit the exemption by excluding anti-SLAPP
motions made by individual defendants). Accordingly, the exemption is applicable to Lenahan,
even in his capacity as a sole proprietor. (See Dowd Decl., 13, Ex. G, listing Lenahan as an
“Owner” under the signatory portion of the Lenahan Insertion Order.)

Here, Lenahan’s statements are not strictly about RMG; they are also about Lenahan’s
own publication services. He refers to his “marketing materials” and the actions he purportedly
took in furtherance of his publication services for RMG. (Dowd Decl., § 35, Ex. R.) Moreover,
by presenting skewed representations of his services on a Facebook group that he concedes is
accessible to thousands of individuals, he did not simply intend to promote his own services, but
he in fact successfully did. At least one individual commented on Lenahan’s statements with
contact information for an RMG affiliate manager, included a note about the affiliate manager
“looking for network placement and internal email traffic to our exclusives,” and listing various
advertising campaigns. (Declaration of Jeffrey M. Rosenfeld In Support Of Third-Party
Defendant Ryan Lenahan’s Motion to Strike Claims Under Cal. Code of Civ. Proc. 425.16 (Anti-
SLAPP Motion), Ex. B.) Additionally, Lenahan’s intended audience was undoubtedly potential
customers or persons likely to repeat the statements to a potential customer. As Lenahan himself
notes, the Facebook group is comprised of publishers, and indeed, with a title of “Internet
Advertising — People Who Don’t Pay,” it would not be a stretch to expect that of the thousands
of members in this Facebook group, and the “many, many more” Internet users who do not need
to become a member of the Facebook group to view its contents (Anti-SLAPP Motion, p. 9, Ins.
26-28), that many other networks like RMG, who offer opportunities for publishers like Lenahan
(i.e. that are Lenahan’s “clients”), would view the comments as well.

The conditions of the commercial speech exemption having been satisfied, this Court

should deem the Anti-SLAPP statute inapplicable to Lenahan’s statements.

-14- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV, PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

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28

Case 5:12-cv-04759-PSG Document 48 _ Filed 02/01/13 Page 20 of 31

B. Lenahan’s Statements Were Made In Connection With a Private Payment
Dispute

Even if the statements are afforded some First Amendment protection, they still do not fall
within the ambit of the anti-SLAPP statute. Contrary to Lenahan’s assertion that his publication
of statements to Facebook are protected as a “written or oral statement or writing made in a place
open to the public or a public forum in connection with an issue of public interest’, see, Anti-
SLAPP Motion, p. 7 (emphasis added); CCP §425.16(e)(3), the Legislature intended this
requirement to have a limiting effect on the types of conduct that come within the statute.
Weinberg v. Feisel (2003) 110 Cal. App. 4th 1122; Rivero v. American Federation of State,
County and Municipal Employees, AFL-CIO (2003) 105 Cal. App. 4th 913, 926. Lenahan’s
statements were not made in connection with an issue of public interest.

Generally, statements about a particular business are not matters that concern a public
issue or matter of public interest within the meaning of California’s anti-SLAPP statute.
Commonwealth Energy Corp. v. Investor Data Exchange, Inc. (2003) 110 Cal. App. 4th 26, 33-34
(denying anti-SLAPP motion to strike in case involving claims made about telemarketing pitch),
Consumer Justice Center v. Trimedica International, Inc. (2003) 107 Cal. App. 4th 595, 600-601
(denying motion to strike in case involving ads for breast enlargement herbal supplements); Nagel
vy. Twin Laboratories, Inc. (2003) 109 Cal. App. 4th 39, 47-48 (denying anti-SLAPP motion in
case involving dietary supplements); Rivero, 105 Cal. App. 4th at 924 (denying anti-SLAPP
motion in libel suit about criticisms of university’s workplace activities).

Only three categories of cases fit within the definition of “public interest”: (1) the subject
of the statement was a person or entity in the public eye; (2) the statement involved conduct that
could affect large numbers of people beyond the direct participants; and (3) the statement
involved a topic of widespread, public interest. Commonwealth Energy, 110 Cal. App. 4th at 33;
Rivero, 105 Cal. App. 4th at 924. Lenahan’s statements do not fit within any of these definitions.
First, RMG is a small, privately owned company with only eleven employees—and not in the
public eye. (Dowd Decl., 4.) Second, the statements are about a private dispute, namely RMG’s

right to withhold payments from Lenahan and Danna because of their failure to use approved text

-15- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO, 5:12-CV-04759 (PSG)

DLA PiPer LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 21 of 31

message advertisements in providing publication services to RMG. The gravamen of Lenahan’s
statements involve RMG and Lenahan—two private parties to a business transaction — and an
alleged non-payment that only affects the two parties involved. Lenahan argues that statements
pertaining to a private payment dispute is an issue of public interest because it was posted in a
forum dedicated to “the issue of Internet publisher networks that do not pay their publishers.”
(Anti-SLAPP Motion, p. 10, Ins. 4-5.) However, the mere act of publishing private information
onto the Internet in and of itself is insufficient to transform the information into an issue of public
interest. See Rivero, 105 Cal. App. 4th at 924, 926 (court denied motion to strike where the only
people involved in the dispute were a supervisor and eight employees, and noted that publication
on the Internet does not turn private information into a matter of public interest).

Third and finally, the statements do not concern a topic of widespread public interest.
Where, as here, the statements solely concern the business relationship between RMG and
Lenahan and RMG and Danna, anti-SLAPP motions are routinely denied. See, e.g.
Commonwealth Energy, 110 Cal. App. 4th at 34 (denying motion to strike under first prong
where statements concern company’s particular services, not about investments scams in
general); Mann vy. Quality Old Time Service, Inc. (2004) 120 Cal. App. 4th 90, 111 (denying anti-
SLAPP motion where statements “not about pollution, or potential public health and safety issues
in general, but about the [plaintiff's] specific business practices.”); World Financial Group, Inc.
v. HBW Insurance & Financial Services, Inc. (2009) 172 Cal. App. 4th 1561, 1568-70 (denying
motion under first prong where statements only about plaintiffs business capacity). Indeed, the
very case Lenahan cites in his anti-SLAPP Motion for the proposition that the term public interest
“has been interpreted expansively to include private conduct that has a broad interest,” (Anti-
SLAPP Motion, p. 9, Ins. 1-4), provides — on closer look - “guiding principles” that demonstrate
the non-public nature of Lenahan’s statements. In Hailstone v. Martinez (2009) 169 Cal. App.

4th 728, the court explained that:

‘Public interest’ is not mere curiosity. Further, the matter should be something of
concern to a substantial number of people. Accordingly, a matter of concern to the
speaker and a relatively small, specific audience is not a matter of public interest.

-16- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

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Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 22 of 31

Additionally, there should be a degree of closeness between the challenged
statements and the asserted public interest. The assertion of a broad and
amorphous public interest is not sufficient. Moreover, the focus of the speaker's
conduct should be the public interest, not a private controversy. Finally, a
defendant charged with defamation cannot, through his or her own conduct, create
a defense by making the claimant a public figure. Otherwise private information
is not turned into a matter of public interest simply by its communication to a
large number of people.

Id. at 736 (emphasis added). In Hailstone, the court concluded that statements about a union
representative and trustee’s misappropriation of union funds was of interest to “the more than
10,000 members of Local 948.” Id. at 738. As the court further explained, statements about an
investigation into potentially illegal actions of a union official “who was [] serving in a fiduciary
capacity as a trustee of the trust that provides health and welfare benefits to those members” did
fall within the “public issue” domain. Jd. at 738-39 (emphasis added). In complete contrast,
Lenahan cannot point to any relationship between his or Danna’s private business dispute with
RMG and the “health and welfare” of the 2,244 individuals he identified as members of the
Facebook group, the “many, many more” he states likely view the Facebook group, or the
unidentified individuals that produce “ten thousand visits per month” on another website to which
those statements are syndicated. (See Anti-SLAPP Motion, p. 9. Ins. 26-28; p. 10 Ins. 1-3.) In
fact, in each of the three additional cases Lenahan cites for the proposition that the public interest
“covers matters of interest to a specific group, where the speech occurs in the context of an
ongoing dispute or discussion” (see Anti-SLAPP Motion, p. 9, Ins. 5-7), the statements or
conduct at issue affected members of a distinct segment of the population who all had a definable
relationship with the entity or individual to whom the statements were directed, or were potential
consumers (not business partners) of that entity or individual. See Wilbanks v. Wolk (2004) 121
Cal. App. 4th 883, 898 (distinguishing a consumer watchdog’s comments on a brokerage firm’s
business practices, which did not fall within the “public interest” domain, from consumer
protection information); Thomas v. Quintero (2005) 126 Cal. App. 4th 635 (allegations against a
landlord of wrongful evictions, improper retention of security deposits, and refusal to make

needed repairs to rental properties affected the stability and the threat of potential urban blight in

-17- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA Pirer LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 23 of 31

the neighborhoods in which his properties were located); Damon v. Ocean Hills Journalism Club
(2000) 85 Cal. App. 4th 468 (publication in a homeowners association newsletter about a former
manager concerned “public issue” in part given the size of the residential community led by the
former manager).

Here, Lenahan’s comments about RMG are directed at the specific conduct of RMG as it
relates to Lenahan. Moreover, the intimate focus of his statements on his own dispute with RMG,
and not RMG’s relationships with other publishers, is further evidenced by the fact that he posted
a follow up comment a few months later stating “Just an update, over 3 months have passed and
have still not seen a dime.” (Dowd Decl., { 38, Ex. S.) Nor do his statements act as a “direct call
for public involvement in an ongoing controversy, dispute or discussion.” See Thomas, 126 Cal.
App. 4th at 661-62. Lenahan’s statements about a private dispute simply do not involve an issue
of public interest. If they were, then virtually every statement relating to a disagreement between
two parties about any business dispute would fall under the purview of the anti-SLAPP statute.
The California courts have made clear that “judges and attorneys will, or should, know a public
concern when they see it.” Du Charme v. Int’l Bro. of Elec. Workers, Local 45 (2003) 110 Cal.
App. 4th 107, 117. This is not one of them.

Ill. THE SECOND PRONG OF THE ANTI-SLAPP STATUTE COMPELS DENIAL
OF THIS MOTION AS RMG’S COMPLAINT IS BOTH LEGALLY SUFFICIENT
AND SUPPORTED BY A PRIMA FACIE SHOWING OF FACTS SUFFICIENT TO
SUPPORT A FAVORABLE JUDGMENT

Plaintiffs’ claims should not be dismissed for the independent reason that Plaintiffs have a
probability of prevailing on each of their claims. In order to establish a probability of prevailing
for purposes of section 425.16, Plaintiffs need only state and substantiate a legally sufficient
claim. Peregrine Funding, Inc. v. Sheppard Mullin Richter & Hampton LLP (2005) 133 Cal. App.
Ath 658, 675. The California Supreme Court has referred to this test as the “minimal merit” prong
of section 425.16. Navellier, 29 Cal.4th at 89; Grewal v. Jammu (2011) 191 Cal. App. 997, 989.
According to the California Supreme Court, the plaintiff need only demonstrate that the
complaint is both legally sufficient and supported by a sufficient prima facie showing of facts to

sustain a favorable judgment if the evidence submitted by the plaintiff is credited. Navellier, 29

-18- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA Piper LLP (US)

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28

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Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 24 of 31

Cal.4th at 88-89. Only a minimum level of legal sufficiency and triability is required. See Soukup
y. Law Offices of Herbert Hafif (2006) 39 Cal.4th 260, 291.

A. RMG Has Demonstrated A Probability of Prevailing On Its Third Cause of
Action for Libel Per Se Against Third-Party Defendant Lenahan

A statement is libelous “per se” if it defames the plaintiff or a defamatory meaning
appears from the language itself without the necessity of an explanation or the pleading of
extrinsic facts. Cal. Civ. Code §45a. A statement is libelous per se when on its face the words of
the statement are of such a character as to be actionable. Slaughter v. Friedman (1982) 32 Cal.3d
149, 153. A statement can also be libelous per se if it contains a charge by implication from the
language employed by the speaker and a listener could understand the defamatory meaning
without the necessity of knowing extrinsic explanatory matter. McGarry v. University of San
Diego (2007) 154 Cal. App. 4th 97, 112; Cal. Civ. Code, § 45a.

In order to recover for defamation, RMG must demonstrate that Lenahan’s statements
were false. Because the statement must contain a provable falsehood, courts distinguish between
statements of fact and statements of opinion for purposes of defamation liability. Although
statements of fact may be actionable as libel, statements of opinion are constitutionally protected.
McGarry, supra, 154 Cal. App. 4th at 112. That does not mean that statements of opinion enjoy
blanket protection. On the contrary, where an expression of opinion implies a false assertion of
fact, the opinion can constitute actionable defamation. Milkovich v. Lorain Journal Co. (1990)
497 U.S. 1, 18-19. The critical question is not whether a statement is fact or opinion, but
“whether a reasonable fact finder could conclude the published statement declares or implies a
provably false assertion of fact.” McGarry, supra, 154 Cal. App. 4th at 113. Courts utilize a
totality of circumstances test to determine whether a statement is fact or opinion—by analyzing
the language of the statement and context in which the statement was made. Jd.

In Wong v. Jing (2010) 189 Cal. App. 4th 1354, a dentist brought an action for libel per se
against an individual who posted a negative review on Yahoo’s review website stating that dentist
was “really fast”, that child was “lightheaded for several hours” after having cavities filled, that

reviewer later spoke to better dentist who “would never use the laughing gas on kids, which was

-19- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO, 5:12-CV-04759 (PSG)

DLA Piper LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 25 of 31

the cause of my son’s dizziness,” that nitrous oxide was “general anesthetic, not local,” and that
“general anesthetic harms a kid’s nerve system.” Jd. at 1361. The defendant brought an anti-
SLAPP motion asserting that the plaintiff could not demonstrate that the statements were false or
anything more than opinion. The court held that the plaintiff showed a likelihood of success that
the statements were libel per se. Similarly, in Maponics, LLC v. Wahl, 2008 WL 2788282 (N.D.
Cal. July 18, 2008), this Court addressed a number of tort counterclaims brought by the
defendants against the plaintiff company’s sales manager, including a defamation claim. This
Court concluded that the manager’s statements in emails to one of the defendant’s customers
stating that the defendants “stole data” and that there were errors in one of the defendant’s
products “imply a provably false assertion of fact which is actionable” and thus were libel per se.
Id. at *4. In Silverstein v. E360Insight, LLC, 2008 WL 1995217 (C.D. Cal. May 5, 2008), the
district court concluded that a defendant’s statement on a website using Google News that
plaintiff was a “ ‘criminal vigilante’ could be understood by the reader as either fact or opinion,”
and noting that the “statement appear[ed] immediately after an excerpt from this Court’s order...
dismissing plaintiffs complaint,” the statement “might suggest to the average reader that plaintiff
filed an unlawful, fraudulent suit.” Jd. at *11 The court denied the defendants’ motion for
summary judgment as to the plaintiff's libel per se claim based on that statement, as a result.
RMG alleges a libel per se claim against Lenahan as to multiple comments he posted on

the Facebook group webpage:

Roger Dowd from Reach Media group owes me $13,000 and forcing me to hire
Harrison Gevirtz to take them to court. I’m also aware that they owe another
network $xx,xxx in addition to another affiliate they owe $xx,xxx. Roger claims
we were using “unapproved” sms content however I have countless emails, skype
transcripts...etc where he told me to use his exact word for word message on my
marketing materials or else risk non payment, which I did under threat and now
hes claiming its unapproved BS story.

Roger Dowd sent a 14k wire to my partner whom was using the very same sms
content, then 3 days later contacted the bank and pretended the wire they sent was
fraud in attempts to get it reversed. Luckily a signed IO, invoice, emails,
transcripts...etc got the bank to realize it was a BS story and stopped the
fraudulent reversal.

-20- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV, PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA Pirer LLP (US)

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28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 26 of 31

As alleged in RMG’s Third-Party Complaint, these statements were posted within two minutes of
one another on the Facebook group page by Lenahan, specifically on a page entitled “Internet
Advertising — People Who Don’t Pay.” (TPC, { 28.)

Here, Lenahan’s first Facebook posting about Dowd and RMG accuses Dowd of
“threat[ening]” him, asserting a “BS story” about the requirements of the marketing materials
Lenahan produced, forcing Lenahan to take RMG to court for funds, and not paying thousands of
dollars to affiliate networks to whom RMG owes money. Like the statements in Wong, Maponics
and Silverstein, Lenahan’s comments are not mere opinions. These comments create serious
implications — here that RMG engaged in improper, unethical, unprofessional, and deceitful
business activity. No extrinsic evidence is necessary to reach this implication.

Moreover, Lenahan’s second Facebook posting, only two minutes later, accuses Dowd of
lying to a bank (“...contacted the bank and pretended the wire they sent was fraud in attempts to
get it reversed”; “got the bank to realize it was a BS story...”). In fact, he explicitly accuses
Dowd of attempting a “fraudulent reversal” of a bank wire transfer, which, to the “average
reader” might suggest that Dowd engaged in unlawful behavior, such as wire fraud. At a
minimum, these comments imply that RMG engages in deceitful, fraudulent business activity.
RMG has properly asserted a claim for libel per se against Lenahan.

Lenahan’s statements imply provably false assertions of fact. Contrary to Lenahan’s
assertion that his statements are true, first that “RMG owes Lenahan $13,200 for work Lenahan
performed on behalf of RMG,” (Anti-SLAPP Motion, p. 11, Ins. 17-18), Lenahan’s own
statements to Dowd reveal the falsity of his online postings. Like all publishers in RMG’s
network, Lenahan received the Creatives for each of the eight campaigns he signed up to publish
for through automated emails directed to him. (Dowd Decl., § 14, Ex. I.) Additionally, he
received Special Instructions about the content of the text message advertisements, specifically
that they could not contain bank names, amounts over $1000, or the phrase “cash in 2 hours”, and
that they were required to include opt-out language. (Dowd Decl., { 16, Ex. K.) Critical to this
analysis is Lenahan’s own confession to Dowd that he had been sending text message

advertisements that did not comply with RMG’s Creatives. (Dowd Decl., § 20.) In fact, he

-21- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO, 5:12-CV-04759 (PSG)

DLA PIPER LLP (US)

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28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 27 of 31

conceded the same in writing, stating:

I understand your very upset over all the issues these sms have brought upon you.
I know if I were in your shoes I’d be very upset too. However please understand
that I did stop 100% when you gave me that 2nd and final warning and authorized
me to continue sending SMS with your approved content only which was August
25th... .1 do remember Kyle and I were talking about how some of the SMS
which had Chase within it had converted a few days after we stopped using it
completely. ... Again, when you gave me my final warning and gave us approved
sms content to use I complied with your demands 100% and did NOT go behind
your back, not even with 1 single sms. If you received any complaints after
August 25th 2012 these were either NOT from me (Possibly Kyle or another
affiliate) or were from me but the sms was sent before you gave me my final
warning... . Ive also now have optin payday loan data . . . If you feel it is fair to
deduct some money from the $12,298 to cover your time dealing with this I’m
open to fair negotiation.

(Dowd Decl., § 28, Ex. P.) That he now claims “RMG specifically approved the content of [his]
ads” and that he “believes that his advertisements fully complied with RMG’s standards” is
stunning. (Anti-SLAPP Motion, p. 11, 1. 25; p. 14, Ins. 2-5.) He failed to acknowledge in his
Motion his concession both verbally and in writing to Dowd that he did not comply with the
language of the original, preapproved Creatives RMG provided to him. Moreover, his Anti-
SLAPP Motion is absolutely silent on a key provision of the Agreement, which states that
“Ta]ny changes to [a] Creative, without prior written permission will result in the loss of
payment of Leads.” (Dowd Decl., § 11, Ex. E.) Lenahan’s first statement does not “reflect two
sides of a debate”; they imply provably false assertions of fact.

Similarly, Lenahan’s second statement, that Dowd and RMG engaged in a “fraudulent
reversal” attempt of a bank wire, “pretend[ing] the wire they sent was fraud,” is a false assertion
of fact which can be proved. Like Lenahan, Danna received the Creatives for the campaign he
signed up to publish for through an automated email directed to him. (Dowd Decl., { 15, Ex. J.)
Additionally, he received Special Instructions about the content of the text message
advertisements, specifically that they could not contain bank names, amounts over $1000, or the
phrase “cash in 2 hours”, and that they were required to include opt-out language. (Dowd Decl.,
{| 16, Ex. K.) There is no doubt that Danna received these Special Instructions — specifically the

prohibitions on bank names, amounts over $1000, the phrase “no credit checks”, and the phrase

-22- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

DLA Piper LLP (US)

SAN FRANCISCO

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28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 28 of 31

“cash in 2 hours” - as they were provided in an email to Danna from one of RMG’s former
employees. (Dowd Decl., { 17, Ex. L.) Because Lenahan admitted that Danna had used the
exact same Creatives as Lenahan, Danna had stated that “the fact that they paid me and not you
is really going to hurt them in court,” and Lenahan had previously conceded to Dowd that he
sent noncompliant text messages, it was evident that Danna had not complied with the
Creatives, either. (Dowd Decl., 32, Ex. Q.) As a result, Lenahan’s statement that Dowd and
RMG engaged in not just a wire reversal, but a “fraudulent reversal,” is also a provably false
assertion of fact. At a minimum, a reasonable fact finder could conclude Lenahan’s statements
declare or imply a provably false assertion of fact, which is all that is needed to establish a

probability of libel per se.

B. RMG Has Demonstrated A Probability of Prevailing On Its Fourth Cause of
Action for Tortious Interference with Contractual Relations Against Third-
Party Defendant Lenahan and Its Fifth Cause of Action for Tortious
Interference with Prospective Economic Advantage Against Third-Party
Defendant Lenahan

A prima facie showing of tortious, or intentional, interference with contractual relations
requires pleading the following elements: (1) a valid contract between plaintiff and a third party;
(2) defendant’s knowledge of this contract; (3) defendant’s intentional acts designed to induce a
breach or disruption of the contractual relationship; (4) actual breach or disruption of the
contractual relationship; and (5) resulting damage. Pacific Gas & Electric Co. v. Bear Stearns &
Co. (1990) 50 Cal.3d 11 18, 1126. The elements of tortious interference with prospective
economic advantage claim are similar: (1) an economic relationship between the plaintiff and
some third party, with the probability of future economic benefit to the plaintiff; (2) the
defendant’s knowledge of the relationship; (3) intentional acts on the part of the defendant
designed to disrupt the relationship; (4) actual disruption of the relationship; and (5) economic
harm to the plaintiff proximately caused by the acts of the defendant. Korea Supply Co. v.
Lockheed Martin Corp. (2003) 29 Cal.4th 1134, 1153.

The allegations in the Third-Party Complaint, along with the evidence presented in
support of this Opposition, sufficiently establish RMG’s probability of prevailing on both of these

claims. Indeed, one of two theories available to RMG giving rise to these claims does not arise

-23- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO, 5:12-CV-04759 (PSG)

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28

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 29 of 31

from the defamatory Facebook postings at all, and thus does not fall within the purview of the
anti-SLAPP statute. Specifically, one set of contracts and economic relationships with which
Lenahan has intentionally interfered are those between RMG and its advertisers. RMG has valid
contracts, and economic relationships, with the advertisers that seek RMG’s publication services.
Indeed, advertisers enter into marketing and distribution agreements with RMG, which govern the
responsibilities of RMG, payment to RMG by the advertiser, and representations and warranties,
among other issues. (Dowd Decl., § 8, Ex. B.) Although Lenahan had been warned on more than
one occasion not to send noncompliant text message advertisements (Dowd Decl., 28, Ex. P)
and all publishers are generally aware that third party advertisers seek to purchase Leads from ~
RMG as a result of its campaigns (Dowd Decl., { 8) he deliberately continued to send
noncompliant text messages, reflecting a complete disregard for the implications his actions had
on RMG’s contractual and economic relations with advertisers seeking to purchase lawful Leads
from RMG from these advertising campaigns. As a result of Lenahan’s noncompliant text
messages, RMG refunded its fees to the advertisers associated with Lenahan’s campaigns and
suffered a loss in profit as a result. (Dowd Decl., § 34.) While the Third-Party Complaint does
not directly rely upon this theory in asserting Counts IV and V, evidence presented in support of
this Opposition, along with certain allegations of the Third-Party Complaint, support this theory.
To the extent this Court requires, for purposes of its ruling, an amended Third-Party Complaint to
reflect the entirety of these allegations, but without altering Counts IV and V themselves, RMG
respectfully requests leave to amend its Third-Party Complaint accordingly, in accordance with
the proposed amendments attached as Exhibit A to the Declaration of Vishali Singal In Support
Of Opposition to Third-Party Defendant Ryan Lenahan’s Motion to Strike Claims Under Cal.
Civ. Proc. Code § 425.16 (Anti-SLAPP Motion). Critically, should this Court permit RMG to
assert this theory of facts in support of Counts IV and V, the anti-SLAPP statute is no longer

applicable to them and showing a probability of prevailing on the merits is no longer required.’

' Separately, RMG has established a probability of success on the merits of Counts IV and V even
based on the defamatory statements themselves. RMG pled the existence of a valid contract and
economic relations with one of its largest clients. (TPC, | 30.) Additionally, the Third-Party
Complaint alleged that Lenahan was aware of RMG’s strong reputation in the advertising

-24- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER

CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO, 5:12-CV-04759 (PSG)

DLA Piper LLP (US)

SAN FRANCISCO

28

Case 5:12-cv-04759-PSG Document 48 _ Filed 02/01/13 Page 30 of 31

Additionally, RMG respectfully requests that this Court still grant RMG’s leave to amend the
Third-Party Complaint in relation to the separate issues addressed in Lenahan’s and Danna’s
Motion to Dismiss and/or Strike Third-Party Complaint, should it choose to grant any or all
portions of that second motion.

Iii. CONCLUSION
Lenahan is trying to hide behind California’s Anti-SLAPP law to escape responsibility for

deliberately posting fabricated statements about RMG on a Facebook forum and then linking
those comments to RMG’s president and CEO Roger Dowd’s personal Facebook page. This
lawsuit is not the story of a corporation trampling on consumers’ freedom of speech, or concerned
citizens mobilizing to take action on an issue. This is a case of a disgruntled independent
contractor who, after admitting that he breached the contractual terms of his business engagement
with RMG, publicly posted knowingly false statements relating to a private issue, namely a
payment dispute between himself and RMG. California’s anti-SLAPP statute was not designed to
give individuals carte blanche to destroy a company’s reputation and interfere with their business
and contractual relationships by posting defamatory statements about a business dealing.
Lenahan’s Anti-SLAPP Motion must be denied for the following reasons: (1) Lenahan has
failed to make a threshold showing that the challenged causes of action arise from the exercise of
protected free speech as defined in CCP sections 425.16(e) and 425.17, (2) the evidence before
the Court independently demonstrates that RMG has a probability of prevailing on the merits of
its claims for libel per se (Count III), tortious interference with contractual relations (Count IV)
and tortious interference with prospective economic advantage (Count V), and (3) regarding
Counts IV and V, these claims do not fall within the scope of the anti-SLAPP statute where the

theory upon which they are based are Lenahan’s conduct of sending noncompliant text messages.

industry and the existence of RMG’s multiple contracts with its clients, which are not limited to
publishers. (TPC, §§ 47 and 53; Dowd Decl., 5, 8.) Lenahan has not pointed to authority
requiring that at this “probability” stage, that is, a minimum level of legal sufficiency, more than a
pleading of knowledge that RMG has contracts with entities generally is required. Additionally,
as established previously, Lenahan committed an intentional tort on a Facebook group page,
designed to “[c]all them out and let the world know” — specifically to induce disruption of RMG’s
contractual and economic relationships. Indeed, this larger client of RMG’s now requires
prepayment or personal guarantees from RMG as to future campaigns, such that RMG has
suffered damages in the form of future indebtedness with this larger client.

-25- OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER

CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

Case 5:12-cv-04759-PSG Document 48 Filed 02/01/13 Page 31 of 31

Dated: February 1, 2013
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28

DLA PiPer LLP (US) -26~ OPPOSITION TO MOTION TO STRIKE CLAIMS UNDER
SAN FRANCISCO CAL. CIV. PROC. CODE § 425.16 (ANTI-SLAPP MOTION)
CASE NO. 5:12-CV-04759 (PSG)

